Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 1 of 32 PageID# 17055



                                    IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                                 Alexandria Division


  ANASELHADY,^/^/.,                          )
                                             )
                          Plaintiffs,        )
                   V.                        )
                                             )
  CHARLES H. KABLE,et al,                    )                   Civil Action No. 1:16-cv-375 (AJT/JFA)
  Director ofthe Terrorist Screening Center, )
  in his official capacity                   )
                                             )
                           Defendants.       )
                                             )

                                 MEMORANDUM OPINION AND ORDER


           Plaintiffs are twenty-three United States citizens' who claim that because of their

  inclusion in the federal government's Terrorist Screening Database ("TSDB"), referred to

  colloquially as "the Watchlist," they have suffered a range of adverse consequences without a

  constitutionally adequate remedy.^

           In Mohamed v. Holder, 2015 WL 4394958(E.D. Va. July 16, 2015), the Court concluded

  that the Department of Homeland Security Traveler Redress Inquiry Program ("DHS TRIP"), as

  that process existed at the time, did not provide a constitutionally adequate remedy for a United

  States citizen who had been listed on the No Fly List, which is a subset of persons included in the

  TSDB who are prohibited from boarding a commercial aircraft that traverses U.S. airspace, and



  'These Plaintiffs are:(1) Anas Elhady;(2) Baby Doe 2, by his next friend. Father Doe 2;(3) Yaseen Kadura;(4)
  Osama Hussein Ahmed;(5)Ahmed Ibrahim Al Halabi;(6) Michael Edmund Coleman;(7) Wael Hakmeh;(8)
  Hassan Shibiey;(9) Ausama Elhuzayel;(10) Donald Thomas;(I I) Murat Frljuckic;(12)Ibrahim Awad;(13) Mark
  Amri;(14) Adnan Khalil Shaout;(15)Saleem Ali;(16) Shahir Anwar;(17)Samir Answar;(18) Muhammad Yahya
  Khan;(19) Hassan Fares;(20)Zuhair El-Shwehdi;(21) John Doe 2:(22)John Doe 3; and (23) John Doe 4.
 'Plaintiffs bring their claims against the following Defendants in their official capacities based on their involvement
  in the administration of the TSDB:(I)the Director, Principal Deputy Director, and Deputy Director for Operations
  of the Terrorist Screening Center;(2)the Director of the Department of Homeland Security Traveler Redress
  Inquiry Program;(3)the Director of the National Counterterrorism Center;(4)the Administrator of the
  Transportation Security Administration;(5)the Director of the Federal Bureau of Investigation; and (6)the Acting
  Commissioner of United States Customs and Border Protection.
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 2 of 32 PageID# 17056
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 3 of 32 PageID# 17057
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 4 of 32 PageID# 17058
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 5 of 32 PageID# 17059
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 6 of 32 PageID# 17060
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 7 of 32 PageID# 17061
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 8 of 32 PageID# 17062
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 9 of 32 PageID# 17063
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 10 of 32 PageID# 17064
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 11 of 32 PageID# 17065
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 12 of 32 PageID# 17066
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 13 of 32 PageID# 17067
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 14 of 32 PageID# 17068
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 15 of 32 PageID# 17069
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 16 of 32 PageID# 17070
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 17 of 32 PageID# 17071
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 18 of 32 PageID# 17072
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 19 of 32 PageID# 17073
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 20 of 32 PageID# 17074
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 21 of 32 PageID# 17075
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 22 of 32 PageID# 17076
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 23 of 32 PageID# 17077
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 24 of 32 PageID# 17078
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 25 of 32 PageID# 17079
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 26 of 32 PageID# 17080
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 27 of 32 PageID# 17081
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 28 of 32 PageID# 17082
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 29 of 32 PageID# 17083
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 30 of 32 PageID# 17084
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 31 of 32 PageID# 17085
Case 1:16-cv-00375-AJT-JFA Document 323 Filed 09/04/19 Page 32 of 32 PageID# 17086
